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       Thimes Solutions Inc.
 10
 11
                            UNITED STATES DISTRICT COURT
 12
                          CENTRAL DISTRICT OF CALIFORNIA
 13
                                    WESTERN DIVISION
 14
 15    THIMES SOLUTIONS INC.                 Case No. 2:19-CV-10374-SB-E
 16                        Plaintiffs,       DECLARATION OF VICTOR
                                             MENG IN SUPPORT OF THIMES
 17           v.                             SOLUTIONS INC.’S MOTION TO
 18                                          STRIKE PARAGRAPH 9 OF TP-
       TP-LINK USA CORPORATION,              LINK USA CORPORATION’S
       and AUCTION BROTHERS, INC.            COUNTERCLAIM
 19
       d/b/a AMAZZIA
 20
                           Defendant.        Date:      July 15, 2022
                                             Time:      8:30 am
 21                                          Courtroom: 6C
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 28
                                                         MENG DECL. ISO MOTION TO STRIKE
                                                              CASE NO. 2:19-CV-10374-SB-EX
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   1         I, Victor Meng, declare as follows:
   2         1.     I am a partner in the law firm of Gaw | Poe LLP, co-counsel for
   3   plaintiff Thimes Solutions Inc. If called to testify at a hearing or trial, I could and
   4   would testify to the following, which is based on my personal knowledge. I submit
   5   this declaration in support of Thimes Solution Inc.’s motion to strike paragraph 9 of
   6   TP-Link USA Corporation’s counterclaim.
   7         2.     On June 8, 2022, I met and conferred with Heather Auyang and Patice
   8   Gore of LTL Attorneys LLP, counsel for defendant TP-Link USA Corporation,
   9   concerning Thimes’s contemplated motion to strike paragraph 9 of TP-Link’s
 10    counterclaim.
 11          3.     During that June 8 telephone conference, counsel for TP-Link stated
 12    that the accusations by FortressDAO investors against Mr. Eisenberg are relevant to
 13    the issue of whether Thimes’s use of TP-Link’s mark is likely to confuse
 14    customers.
 15          4.     On June 2, 2022, TP-Link served its first sets of interrogatories and
 16    requests for production of documents on Thimes. Request for Production No. 14
 17    seeks “all documents and communications about Fortress DAO concerning
 18    investors’ contention that millions of dollars in investors’ funds have been
 19    improperly retained (see Counterclaims ¶ 9).” Interrogatory No. 12 asks Thimes to
 20    “Describe in detail any concerns, claims, or complaint regarding … any account run
 21    by Avraham Eisenberg.”
 22
 23          I declare under penalty of perjury under the laws of the United States that the
 24    foregoing is true and correct. Executed on June 17, 2022, at Alameda, California.
 25
 26                                                     Victor Meng
 27
 28
                                                                 MENG DECL. ISO MOTION TO STRIKE
                                                  -1-                 CASE NO. 2:19-CV-10374-SB-EX
